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                                UNITED STATES DISTRICT COURT
 1
                              SOUTHERN DISTRICT OF CALIFORNIA
 2
          MS. L, et al.,                                 Case No. 18cv428 DMS MDD
 3
 4                   Petitioners-Plaintiffs,
 5                                                       JOINT STATUS REPORT
           vs.
 6
 7        U.S. IMMIGRATION AND
          CUSTOMS ENFORCEMENT, et
 8        al.,
 9
                     Respondents-Defendants.
10
11
12        The Court ordered the parties to file a joint status report on July 26, 2018, in

13 anticipation of the status conference scheduled for July 27, 2018 at 1:30pm PST.
14
     The parties submit this joint status report in accordance with the Court’s instruction.
15
16 I.      DEFENDANTS’ POSITIONS

17      A. Update on Reunification Process
18
            The reunification plan outlined to the Court in Defendants’ filing on July
19
20   15, 2018, ECF No. 109, and discussed at the July 16, 2018 status conference, is

21   proceeding, and is expected to result in the reunification of all class members
22
     found eligible for reunification at this time by the Court’s July 26, 2018 deadline.
23
24   Defendants report the following with regard to the current status, as of 6:00 a.m.
25   on July 26, 2018, of reunification of families with children ages 5-17:
26
27
28

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 1                • Total number of possible children of potential class members
                    originally identified: 2,5511
 2                     o Children where further review shows they were not separated
 3                        from parents by DHS: 20
                       o Total number of those children who have been discharged from
 4                        ORR: 1,820
 5                     o Children discharged by being reunified with parents in ICE
                          custody under the government’s plan: 1,442
 6                     o Children discharged in other appropriate circumstances: 378
 7                        (these include reunifications with parents in the interior,
                          discharges to other sponsors (such as in situations where there
 8                        parent is not eligible for reunification), reunifications with
 9                        parents in DHS custody earlier in the process, or children that
                          turned 18)
10
11                • Children in care with ORR, where the adult associated with the child
                    is either not eligible for reunification or not available for discharge at
12                  this time: 7112
13                      o Parent waived reunification: 120 children
                        o Reunification precluded by plaintiffs and court order in separate
14                         litigation: 7 children
15                      o Adult red flag from background check: 21 children
                        o Adult red flag from other case file review: 46 children
16                      o Adult released to the interior: 79 children
17                      o Adult outside the U.S.: 431 children
                        o Adult location under case file review: 94 children
18
19
     1
20     The data in this Section reflects approximate numbers maintained by ORR as of 6:00 a.m.
     Eastern on July 26, 2018. These numbers are expected to change, as more reunifications or
21   discharges may occur by the end of the day on July 26, 2018. Moreover, all children presently in
     the care of ORR are supervised by ORR or grantee staff, and can be located. However, it will
22   take additional time for data sets to be updated reflecting all discharges, and in some cases,
     Defendants are working to obtain more complete information concerning the adults associated
23   with each child. Defendants will be prepared to discuss any additional updates during the July 27
24   status conference.
     2
         This number is approximate because the data on children in care is still being updated to reflect
25 discharges and information about associated adults. The groups of children in ORR care below,
26 which are tied to the categories of the adults associated with those children, add up to more than
   711 because some adults fall into more than one category (for example, red flag on background
27 check and waived reunification).
28

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        B. Class Member Lists and Other Information For Plaintiffs
 1
 2         On July 25, 2018, Defendants provided Plaintiffs’ counsel with updated data
 3
     that identifies possible class members whose records reflect they may have been
 4
 5 removed or released from ICE custody. Defendants also provided Plaintiffs’
 6 counsel with a chart containing the currently-available information regarding class
 7
     members who signed the court-approved Election form, including those who
 8
 9 requested to be reunified with their minor child(ren) for purposes of removal, those
10 who waived reunification and requested to be removed without their minor
11
     child(ren), and those who requested time to consult with counsel or refused to
12
13 complete the form. Finally, Defendants provided Plaintiffs’ counsel with an
14 additional spreadsheet that contains currently-available data regarding all identified
15
     possible class members, including those class members who have been reunified
16
17 and either released with their child, or detained in an ICE family residential center.
18         Defendants propose that the next step is for the parties to meet and confer
19
     regarding:
20
21                1. Identifying what, if any, information Plaintiffs should be provided
                     regarding reunifications that have been completed;
22                2. Identifying what, if any, information Plaintiffs should be provided
23                   regarding possible class members who have not been reunified,
                     including those who have been removed or released, and those who
24                   have been deemed ineligible because they were determined not to be
25                   a class member (e.g., not a parent, criminal convictions) or to be
                     excepted from the preliminary injunction’s reunification requirement
26                   (e.g., unfit or a danger to the child);
27
28

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               3. Developing a plan for those class members who have already been
 1
                  removed, including identifying which of those individuals are class
 2                members, locating those individuals, and determining whether they
                  want to be reunified with their child(ren) in their current location or
 3
                  to waive reunification (if the parties cannot reach agreement
 4                regarding that plan, then they should submit their proposals to the
 5                Court for resolution); and
               4. Developing a plan for Plaintiffs’ counsel to assist ORR in locating
 6                released or removed possible class members with whom ORR is not
 7                currently in contact.

 8 II.    PLAINTIFFS’ POSITIONS
 9
          Pursuant to the Court’s June 26 order, Defendants were required to reunify
10
11 all Class Members with their children by the end of today, July 26. Dkt. 83 at 23.
12 Although many families have indeed been reunited, Defendants have yet to
13
     provide Plaintiffs with any information that would allow Plaintiffs to verify these
14
15 reunifications or locate the reunified families. In addition, according to
16 Defendants’ own data, dozens of separated children still have not been matched to
17
     a parent. Moreover, close to a thousand parents remain separated from their
18
19 children. This includes nearly 500 parents who were removed from the country,
20 most likely without their children. This also includes parents whom Defendants
21
   have deemed to not be Class Members, parents who allegedly waived
22
23 reunification, and parents whose membership in the class Defendants have yet to
24 determine.
25
26
27
28

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           In light of the above, Plaintiffs propose the following steps to ensure that all
 1
 2 remaining Class Members—many of whom have now been separated from their
 3
     children for months—can be reunited with their children as soon as possible.
 4
 5      A. Tracking Reunifications that Have Already Occurred.

 6         Defendants have not yet provided any information about the reunifications
 7
     that have already occurred for parents of children ages 5-17. Plaintiffs do not
 8
 9 know the location or timing of any of the reunifications. Plaintiffs first requested
10 this information on July 18. This information is critical both to ensure that these
11
     reunifications have in fact taken place, and to enable class counsel to arrange for
12
13 legal and other services for the reunited families.
14         Plaintiffs therefore propose that the Court order Defendants to provide a list
15
     of all reunified families, which must include, for each Class Member, the following
16
17 information:
18      1. The names and A numbers of the parent and child.
19
        2. The location where they were reunified.
20
21      3. The date they were reunified.

22      4. Whether, after reunification, the family was detained, released, or deported.
23
        5. If the family is being detained, the location of detention.
24
25      6. If the family was released, the time and place of release, and the family’s
26         current location and phone number.
27
28

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     All of this information should already be in Defendants’ possession. Plaintiffs
 1
 2 respectfully ask the Court to order Defendants to produce this information by
 3
     Monday, July 30.
 4
 5      B. Locating Parents Whom Defendants Still Have Not Identified.

 6         On July 25th, Defendants provided an updated list of the 2,551 children who
 7
     were taken from their parents. That list contains 40 children with no parental
 8
 9 information—no name, A number, or location. The list also contains 12 children
10 for whom the parent’s A number is listed, but no name or location.
11
           These are troubling cases. Plaintiffs propose that Defendants be ordered to
12
13 explain in detail, at the July 27 hearing, what efforts they are undertaking to locate
14 and make contact with these parents. The parties and the Court can then consider
15
     what further steps must be taken to find and reunify them. Without these efforts,
16
17 there is a risk that these children will be indefinitely separated from their parents.
18      C. Parents Who Allegedly Waived Reunification.
19
           Defendants claim that 206 Class Members have waived reunification. But
20
21 as evidence submitted yesterday makes clear, many of these parents did not realize
22 they were signing away their right to get their children back. Indeed, many do
23
   wish to be reunited. See Dkt. 153 at 5-6, 9. Plaintiffs are currently attempting to
24
25 ensure that all of the parents who allegedly waived reunification are seen by
26
27
28

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     lawyers, who can assess whether each parent actually intended to waive
 1
 2 reunification.
 3
           For the Class Members on Defendants’ waiver list who in fact do want to be
 4
 5 reunified, the Court should order Defendants to reunify the family within 3 days of
 6 receiving written notice from the Class Member or class counsel.
 7
        D. Ensuring Prompt Reunification for the Hundreds of Families that Are
 8
 9         Still Separated.

10         As of Defendants’ July 23 status report, there were over 900 potential class
11
     members who will not be reunified by today’s deadline. Plaintiffs propose the
12
13 following deadlines to ensure that these families’ separation ends as soon as
14 possible. The following applies both to parents of children under 5 and parents of
15
     children age 5-17.
16
17         1. Parents Whom Defendants Have Not Included in the Class.

18         Defendants have unilaterally excluded dozens of parents from the class,
19
     based on criminal history and a variety of other factors. It is essential that
20
21 Plaintiffs be able to vet these exclusions and contest any they disagree with. And
22 while Defendants provided some information for excluded parents of children
23
   under 5, much of that information was too general to be useful. For instance,
24
25 certain parents were simply listed as having a “serious criminal history,” with no
26 elaboration.
27
28

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           Plaintiffs therefore respectfully ask the Court to order Defendants to provide
 1
 2 the following information on a rolling basis, to be completed by Wednesday,
 3
     August 1:
 4
 5      • A list of all Class Members (including parents of children under 5) whose

 6         children were taken away, but whom Defendants excluded from the class.
 7
        • The details of all crime-based exclusions, including the specific crime,
 8
 9         jurisdiction, and disposition of all charges and convictions.

10      • The details of all other exclusions, including specific reasons why
11
           Defendants concluded the adult was not a Class Member.
12
13 Once Plaintiffs have this information, the parties can meet and confer about any
14 disputes regarding class membership. If necessary, the parties can submit those
15
   disputes to the Court for resolution.
16
17         2. Class Members Who Were Removed Without Their Children.
18         On July 25, pursuant to this Court’s order, Defendants provided Plaintiffs’
19
     counsel with a list of potential Class Members who were already removed. The
20
21 spreadsheet shows that as many as 468 separated parents were removed without
22 their children.
23
          Plaintiffs have started attempting to locate these 468 parents. Plaintiffs
24
25 respectfully ask the Court to order Defendants to reunite these families within 7
26
     days after confirming that the parents are indeed Class Members, that they desire
27
28

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     reunification with their children, and that travel documents have been obtained. If
 1
 2 there are special circumstances that make reunification impossible, Defendants
 3
     should raise them with Plaintiffs. The parties can then meet and confer, and
 4
 5 submit any remaining disputes to the Court. See July 13 Hearing Transcript, at 7
 6 (The Court: “Once the Government is in receipt of those travel documents [then]
 7
     reunification could occur within seven days.”).
 8
 9         3. Parents Who Are Currently in Criminal Custody.

10         To the extent there are parents who remain in criminal custody, as soon as
11
     these parents leave criminal custody, they must be reunified immediately. To
12
13 ensure that those reunifications occur promptly, Plaintiffs propose the following:
14      • Defendants must provide Plaintiffs with a criminal-custody list of Class
15
           Members every 3 days, starting on Monday, July 30. The list must include:
16
17         a. The name, A number, and location of every parent who is currently in
18            state or federal criminal custody.
19
           b. The name, A number, and location of every parent who has left criminal
20
21            custody since the last criminal-custody list.
22         c. The name, A number, current location, and disposition (detained,
23
              released, or removed) of all parents who have been reunited after leaving
24
25            criminal custody.
26
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          d. The July 30 criminal-custody list should include information for parents
 1
 2           of children age 5-17 who left criminal custody since July 26. It should
 3
             also include information for parents of children age 0-4 who left criminal
 4
 5           custody since July 18, when Defendants provided the last 0-4 class list.

 6     • Each Class Member who leaves criminal custody must be reunified within 3
 7
          days. Thus, for instance, if the parent leaves U.S. Marshals custody on a
 8
 9        Monday, reunification must occur by Thursday.

10     E. Summary of Proposed Deadlines
11
          Plaintiffs believe that firm deadlines, as outlined above, are crucial to ensure
12
13 that the hundreds of families who remain separated are promptly reunited. Over
14 the last several weeks, Defendants have complied with the Court’s orders to
15
   produce information, but they have typically not provided that information without
16
17 the Court ordering a deadline. Plaintiffs have accordingly proposed the following
18 deadlines:
19
      1. List of reunification information by Monday, July 30. (age 5-17 group only)
20
21    2. List of detailed reasons for exclusions on a rolling basis, and completed by
22        Wednesday, August 1. (both age 0-4 and age 5-17 groups)
23
       3. Reunification of deported Class Members within 7 days after confirming
24
25        that the parents are Class Members, that they desire reunification with their
26
27
28

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         children, and that travel documents have been obtained. (both age 0-4 and
 1
 2       age 5-17 groups)
 3
      4. Reunification of Class Members on waiver list within 3 days of receiving
 4
 5       written notice that the Class Member does want reunification. (both age 0-4

 6       and age 5-17 groups)
 7
      5. Criminal-custody list on July 30 and every 3 days thereafter. (both age 0-4
 8
 9       and age 5-17 groups)

10       .
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